      Case 2:24-cv-03406 Document 1-2 Filed 07/26/24 Page 1 of 3




                   UNITED STATES DISTRICT COURT

                                FOR THE

                EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

                   Plaintiff                  CIVIL NO.

         vs.


 DANA M JACKSON

                   Defendants




                               EXHIBITS


“A” CERTIFICATE OF INDEBTEDNESS
                Case 2:24-cv-03406 Document 1-2 Filed 07/26/24 Page 2 of 3




                 DEPARTMENT OF HEALTH & HUMAN SERVICES

                                                                                       Program Support Center

                                                                                       Debt Collection Center

                                     CERTIFICATE OF INDEBTEDNESS
                                     Nursing Scholarship Program (NSP)


Dana Jackson
1605 Nedro Ave
Philadelphia, PA 19141
REF:
SSN:

Total debt due United States as of March 31, 2024: $94,724.44 (principal $68,541.99; interest $26,182.45).

I certify that the Department of Health and Human Services' (HHS) records show that the individual named
above is indebted to the United States in the amount stated. Interest accrues on the principal amount of this
debt at the fixed rate of 9.875% per annum. The interest accrues at $18.54 per day.

Danna Jackson submitted an application and signed a contract to participate in the Nursing Scholarship
Program (NSP), Section 846(d) of the Public Health Service Act (42 U.S.C. § 297n(d)).

On September 14, 2012, she was approved to receive a scholarship award for the 2012-2013 school year. In
addition, she received a continuing scholarship award for 2013-2014. The funds received totaled $68,541.99
representing tuition, fees, monthly stipends, and other reasonable educational costs.

The awards were made upon the condition that she serve one year of obligated service for each year of
scholarship support, with a minimum obligation of two years full-time clinical service. Thus, she incurred a
two-year service obligation. She did not fulfill her service obligation.

Pursuant to 42 U.S.C. 297n(d)(1), participants agree to serve as nurses for a period of not less than 2 years at
a health care facility with a critical shortage of nurses. According to 42 U.S.C. 297n(g), if a participant fails to
provide the health services at an approved critical shortage facility, the participant is liable to the Federal
Government for the amount of his or her award, and for interest on that amount at the maximum legal
prevailing rate. The amount the Federal Government is entitled to recover is due no later than three (3) years
from the date of the participant’s default.

In accordance with the Nurse Corps Scholarship Program policy, Ms. Jackson was to begin employment in
an eligible health care facility no later than nine months after graduation. According to Drexel University’s
records, Ms. Jackson graduated September 7, 2013. Since she did not complete her service obligation, she was
placed in default effective June 7, 2015. The program office attempted to contact Ms. Jackson, several times
after her graduation as cited in the emails dated September 30, 2016, April 14, 2017, and a timeline letter dated
October 25, 2016. Ms. Jackson did not respond to any correspondence regarding her service obligation.
                Case 2:24-cv-03406 Document 1-2 Filed 07/26/24 Page 3 of 3

             PAGE 2 - CERTIFICATE OF INDEBTEDNESS – DANA JACKSON


On June 3, 2017, she was notified by letter that she had been placed in default of the conditions of her contract
effective June 7, 2015. She was informed of the annual interest rate applicable to her debt and advised that
interest would accrue on the unpaid principal balance from the date of default until the debt is paid in full.
She was advised the debt must be paid within three years from the date of default. Instructions were enclosed
for requesting a repayment agreement if she was unable to remit the total amount due.

On May 9, 2018, she was notified that her debt was due to be paid in full within 30 days. She was also
informed that failure to make payments would result in her account being referred to a private collection
agency, the Department of Treasury, and/or DOJ for enforced collection.

By letter dated August 17, 2018, she was advised that her account was delinquent. She was notified of HHS’
intent to refer her debt to other Federal agencies for the purpose of administrative offset, which may include
Federal tax refund offset, salary offset, wage garnishment, and other Federal or State Agencies payments. She
was advised that paying the debt in full or entering into an RA would terminate administrative offset.

In a letter dated August 25, 2018, she was advised that her account had been referred to a private collection
agency. She was notified that unless payment in full or an RA was concluded, the account would be referred
to DOJ for enforced collection.

Additional notifications and demand letters regarding the indebtedness were sent on the following dates:
June 9, 2018, October 9, 2020, January 13, 2023, November 8, 2023, and November 23, 2023.

By letter dated March 4, 2024, Ms. Jackson was sent a final notice regarding the delinquent debt. She was
advised that if payment was not received within thirty days, the debt would be referred to the DOJ for
litigation. She did not respond.

The following provides a breakdown of payments made on the debt:
Voluntary Payments              11/22/21 to 12/1/23         $33, 528.77

Repeated attempts by HHS have been unsuccessful in establishing an acceptable repayment agreement.
The debt is now being referred to the U.S. Department of Justice (DOJ), for enforced collection.



CERTIFICATION: Pursuant to 28 U.S.C. 1746, I certify under penalty of perjury that the foregoing is true and correct.




Date                                                          Melodie R. Sanders
                                                              Chief, Debt Referral Section
                                                              Program Support Center
                                                              U.S. Department of Health and Human Services
